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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


DONALD TETER,                                                 ECF Case
                            Plaintiff,                        Case No.
                -against-                                     COMPLAINT
MISONIX., and SHARON KLUGEWICZ,

                            Defendants.


        Plaintiff, Donald Teter, by his attorneys, McBrien Law PC, for his Complaint against

defendants, Misonix Inc., and Sharon Klugewicz (collectively “defendants”) respectfully allege

as follows:

                                         NATURE OF ACTION

        1.     This is an action for damages against defendant, Misonix, for interfering with,

restraining and denying plaintiff’s rights under the Family and Medical Leave Act, 29 U.S.C.

§2615 (“FMLA”) and against defendants, Misonix and Sharon Klugewicz, for failure to reasonably

accommodate plaintiff’s disability and for disability discrimination in violation of the New York

State Human Rights Law, Executive Law § 296, et seq., (NYSHRL).

                                  JURISDICTION AND VENUE

        2.     The jurisdiction of this Court over this controversy is invoked pursuant to 28 U.S.C.

§§ 1331 and 1343, as this action involves federal questions. The Court has supplemental

jurisdiction pursuant to 28 U.S.C. §1367(a) over related claims brought under NYSHRL.

        3.     Venue in this Court is proper in that defendants maintain principal offices in this

District.
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                                              The Parties

       4.        Plaintiff, Donald Teter (“plaintiff” or “Mr. Teter”), is male and a citizen of the

United States.

       5.        During all times relevant, Mr. Teter was and still is a resident of the State of New

York, County of Suffolk.

       6.        During all times relevant, Mr. Teter was an “employee” as defined by the FMLA

and NYSHRL.

       7.        At all times relevant, defendant, Misonix Inc. (“Misonix”) is and was a company

incorporated in Delaware, headquartered in the State of New York, County of Nassau with its

principal place of business located at 1938 New Highway, Farmingdale NY 11735.

       8.        At all times relevant, Misonix employed more than 50 employees and was and still

is an “employer” as defined by the FMLA and NYSHRL.

       9.        Misonix is a specialty manufacturer and marketer of ultrasonic medica devices used

for the removal of various hard and soft tissues.

       10.       At all times relevant, defendant, Sharon Klugewicz (“Klugewicz”), resides and

resided in the State of New York and was employed by Misonix.

       11.       In 2018, and up until plaintiff’s termination, Sharon Klugewicz was the Chief

Operating Officer of Misonix.

       12.       In 2018, and up until plaintiff’s termination, Sharon Klugewicz was Plaintiff’s

manager.

       13.       In 2018, and up until plaintiff’s termination, Sharon Klugewicz directed and

managed Joseph Gigante, the Director of Human Resources at Misonix.




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                                               Facts

        14.    On or about May 7, 2018, Misonix hired Mr. Teter as a full-time Materials

Manager.

        15.    At all relevant times, Mr. Teter worked at Misonix’s headquarters at 1938 New

Highway, Farmingdale, NY 11735.

        16.    During Mr. Teter’s tenure at Misonix, he received positive performance feedback

from management, which always indicated he was meeting or exceeding expectations.

        17.    During Mr. Teter’s tenure at Misonix he did not receive any negative reviews or

formal complaints regarding his job performance at Misonix.

        18.    On or about, April 15, 2019, before going to work, Mr. Teter experienced severe

pain which required him to stay home from work and visit his primary care physician.

        19.    On or about April 15, 2019 Mr. Teter left voicemail messages for Sharon

Klugewicz, his supervisor and company COO, and Joseph Gigante, the Director of Human

Resources, notifying each of them that he would be out of the office due to a medical issue.

        20.    On or about April 16, 2019, Mr. Teter’s physician determined he should stay out of

work until April 18, 2019 and provided Mr. Teter with a written notice stating the same.

        21.    On or about April 16, 2019, and again on April 17, 2019, Mr. Teter communicated

his physician’s April 16, 2019 determination to Mr. Gigante.

        22.    On April 17, 2019, due to plaintiff’s continuing pain, he returned to his doctor. His

doctor indicated he should remain out of work until April 24, 2019.

        23.    On or about April 17, 2019, plaintiff communicated his medical condition to COO

Klugewicz and Mr. Gigante and emailed them both a copy of his then most current physician’s

note.



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       24.     On April 23, 2019 plaintiff visited an orthopedic physician to address his ongoing

back pain, and pain management options.

       25.     Due to his ongoing back pain, Mr. Teter’s orthopedic physician indicated plaintiff

should remain away from work until May 7, 2019.

       26.     On April 23 plaintiff updated Ms. Klugewicz and Mr. Gigante and provided them

with a note from his orthopedic physician stating a return to work date of May 7, 2020.

       27.     On April 24, 2019, plaintiff received notice from Mr. Gigante, stating that Misonix

would accommodate plaintiff’s medical leave until May 7, 2019.

       28.     While plaintiff was out on medical leave, he continued to communicate with his

colleagues in the department of materials management at Misonix via email and telephone

whenever needed.

       29.     On April 26, 2019, plaintiff went to the hospital emergency department because his

back pain was unbearable.

       30.     The pain persisted and plaintiff returned to the hospital emergency department on

May 1, 2019, and was admitted to the hospital.

       31.     On May 2, 2019, plaintiff communicated to COO Klugewicz and Mr. Gigante, that

plaintiff had been admitted to the hospital due to his severe back pain, and that surgery would be

required.

       32.     During Mr. Teter’s stay in the hospital, a letter dated May 2, 2019 was mailed to his

home address, requesting that by May 9, 2019 he provide medical documentation regarding the

expected duration of his absence from work at Misonix.

       33.     Plaintiff’s invasive surgery was performed on Friday, May 3, 2019.




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        34.     On May 5, 2019, plaintiff emailed COO Klugewicz and Mr. Gigante, notifying

them that he had undergone surgery and would know more on Tuesday, May 7, 2019, regarding his

condition.

        35.     On Monday, May 6, 2019, on behalf of the plaintiff, the plaintiff’s fiancée phoned

Misonix and spoke to Joe Gigante and asked Mr. Gigante what, if anything, Misonix needed from

the Mr. Teter, as Mr. Teter was still in the hospital.

        36.     During plaintiff’s fiancée’s May 6, 2019, phone call, she asked Mr. Gigante about

Family and Medical Leave (FMLA). Mr. Gigante said nothing was required at that time.

        37.     On May 6, 2019, the Director of Human Resources at Misonix told plaintiff’s

fiancée that a disability claim is what the plaintiff should file, not FMLA.

        38.     During plaintiff’s medical leave and surgery and thereafter, Family Medical Leave

was never offered by defendants or discussed as a possible option, despite plaintiff’s fiancée’s

specific request for it on his behalf.

        39.     Plaintiff worked in excess of 1,250 hours during the 12 months he was employed by

defendants.

        40.     On May 7, 2019, plaintiff was discharged from the hospital.

        41.     On May 9, 2019, plaintiff went online and completed disability paperwork, as

requested by the Director of Human Resources at Misonix, and then notified the defendant via the

Director of Human Resources email, that the paperwork had been completed.

        42.     Later that day, on May 9, 2019, having taken less than four weeks of medical leave,

plaintiff received an email from the defendant providing notification of his termination from

Misonix.

        43.     The termination notice stated that plaintiff refused to provide Misonix with medical



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documentation, and “… failed to cooperate in this process with us.”

        44.      At no time prior to his termination on May 9, 2019, did any manager from Misonix

indicate to Mr. Teter that he was not cooperating or providing the information required for his

medical leave.

        45.      On May 9, 2019, plaintiff received a return to work note from his surgeon stating he

could return to work on May 13, 2019, subject to further medical evaluation, however he received

the termination email before he obtained the return to work note.

        46.      Upon his termination from Misonix, his employer-sponsored health insurance

benefits terminated, and he was forced to pay for COBRA continuation of coverage benefits.

        47.      Plaintiff’s medical condition, lumbar herniated disc, severe lumbar radiopathy, and

spinal instability, qualified as a serious health condition as defined by the FMLA, in that he

required inpatient care in a hospital as well as continuing treatment by a health care provider.

        48.      Plaintiff suffers and at all relevant times suffered from a disability, namely lumbar

herniated disc, severe lumbar radiopathy, and spinal instability, which impairs his ability to walk

and stand, and required surgery and recovery time to ameliorate the condition.

        49.      Plaintiff requested medical leave as a reasonable accommodation of his disability.

        50.      Plaintiff was able to perform the essential functions of his position after the

reasonable accommodation of leave time to recover from an acute flare up of his disability.

        51.      By terminating Mr. Teter while he was on medical leave, two days after he was

discharged from the hospital, defendants intentionally interfered with Mr. Teter’s rights under the

FMLA.

        52.      By terminating Mr. Teter while he was on medical leave, two days after he was

discharged from the hospital, defendants retaliated against Mr. Teter for exercising his rights under



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the FMLA.

        53.     Defendants failed to reasonably accommodate plaintiff’s disability and denied

plaintiff’s request for a reasonable accommodation of a brief medical leave, and instead terminated

him in violation of the NYSHRL.

        54.     By terminating Mr. Teter while he was on medical leave, two days after he was

discharged from the hospital, defendants discriminated against Mr. Teter based on his disability.

        55.     By terminating Mr. Teter while he was on medical leave, two days after he was

discharged from the hospital, defendants retaliated against Mr. Teter for requesting a reasonable

accommodation.

        56.     Misonix COO, Klugewicz, personally participated in the discriminatory conduct

and occupied a supervisory position with the power over plaintiff to do more than carry out

personnel decisions made by others.

                      FIRST CLAIM FOR RELIEF AGAINST MISONIX:
                                FMLA INTERFERENCE

        57.     Plaintiff repeats and re-alleges the allegations in the foregoing paragraphs as if fully

set forth herein.

        58.     Defendant Misonix failed to adequately apprise plaintiff of his rights under the

FMLA.

        59.     Defendant Misonix interfered with plaintiff’s FMLA rights by terminating plaintiff

without regard for his rights under the FMLA.

        60.     As a result of defendants’ willful violation of the FMLA, plaintiff sustained

substantial losses in earnings and other employment benefits and future pecuniary losses .




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                    SECOND CLAIM FOR RELIEF AGAINST MISONIX:
                               FMLA RETALIATION

        61.     Plaintiff repeats and re-alleges the allegations in the foregoing paragraphs as if fully

set forth herein.

        62.     Defendant Misonix failed to adequately apprise plaintiff of his rights under the

FMLA.

        63.     Defendant Misonix interfered with plaintiff’s FMLA rights by retaliating against

plaintiff by terminating him when he took medical leave for a serious health condition, without

regard for his rights under the FMLA.

        64.     As a result of defendants’ willful violation of the FMLA, plaintiff sustained

substantial losses in earnings and other employment benefits and future pecuniary losses.

          THIRD CLAIM FOR RELIEF AGAINST MISONIX AND KLUGEWICZ:
           DISCRIMINATION BASED ON DISABILITY UNDER THE NYSHRL

        65.     Plaintiff repeats and realleges the allegations in the foregoing paragraphs of the

Complaint with the same force and effect as if fully alleged herein.

        66.     By reason of the foregoing, plaintiff, because of his disability, was denied terms and

conditions of employment; and was discharged by defendants in violation of the NYSHRL,

Executive Law § 296, et seq.

        67.     Defendants failed to offer a reasonable accommodation of plaintiff’s disability,

despite his timely, reasonable request for medical leave.

        68.     Defendant’s acts, practices, and policies described herein constitute intentional

discrimination against plaintiff on the basis of his disability under the NYSHRL, Executive Law §

296, et seq.

        69.     Plaintiff, because he suffered from a disability and took medical leave, was subject

to discrimination and retaliation in that he was denied terms and conditions of employment and
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was discharged by defendants in violation of the NYSHRL, Executive Law § 296, et seq.

       70.     As a result of defendants’ willful, knowing and intentional discrimination, plaintiff

sustained and continues to sustain substantial losses in salary and other employment benefits and

suffered and continues to suffer humiliation, and mental distress and anguish.

  FOURTH CLAIM FOR RELIEF AGAINST AGAINST MISONIX AND KLUGEWICZ:
                  RETALIATION UNDER THE NYSHRL

       71.     Plaintiff repeats and realleges the allegations in the foregoing paragraphs of the

Complaint with the same force and effect as if fully alleged herein.

       72.     By reason of the foregoing, plaintiff, because of his disability and request for

reasonable accommodation, was denied terms and conditions of employment; and was discharged

by defendants in violation of the NYSHRL, Executive Law § 296, et seq.

       73.     Defendant’s acts, practices, and policies described herein constitute retaliation

against plaintiff on the basis of his disability and his request for a reasonable accommodation under

the NYSHRL, Executive Law § 296, et seq.

       74.     Plaintiff, because he suffered from a disability and took medical leave, was subject

to retaliation in that he was denied terms and conditions of employment and was discharged by

defendants in violation of the NYSHRL, Executive Law § 296, et seq.

       75.     As a result of defendants’ willful, knowing and intentional retaliation, plaintiff

sustained and continues to sustain substantial losses in salary and other employment benefits and

suffered and continues to suffer humiliation, and mental distress and anguish.

               FIFTH CLAIM FOR RELIEF AGAINST MISONIX AND KLUGEWICZ:
             FAILURE TO REASONABLY ACCOMMODATE DISABILITY UNDER THE
                                       NYSHRL

       76.     Plaintiff repeats and realleges the allegations in the foregoing paragraphs of the

Complaint with the same force and effect as if fully alleged herein.

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        77.    By reason of the foregoing, plaintiff, because he was denied a reasonable

accommodation, was denied terms and conditions of employment; and was discharged by

defendants in violation of the NYSHRL, Executive Law § 296, et seq.

        78.    Defendant’s acts, practices, and policies described herein constitute a failure to

reasonably accommodate plaintiff on the basis of his disability and his request for a reasonable

accommodation under the NYSHRL, Executive Law § 296, et seq.

        79.    Plaintiff, because he suffered from a disability and was denied medical leave, was

subject to a failure to reasonably accommodate in that he was denied terms and conditions of

employment and was discharged by defendants in violation of the NYSHRL, Executive Law §

296, et seq.

        80.    As a result of defendants’ willful, knowing and intentional failure to provide

plaintiff a reasonable accommodation, plaintiff sustained and continues to sustain substantial losses

in salary and other employment benefits and suffered and continues to suffer humiliation, and

mental distress and anguish.

        WHEREFORE, plaintiff respectfully requests that the Court enter judgment in

plaintiff’s favor and against defendants, containing the following relief:

        A.     An award of damages in an amount to be determined at trial, plus prejudgment

interest, to compensate plaintiff for all monetary and/or economic damages, including but not

limited to, the loss of past and future income, wages, compensation, seniority and other benefits

of employment;

        B.     An award of damages in an amount to be determined at trial, plus prejudgment

interest, to compensate plaintiff for all non-monetary and/or compensatory damages, including




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but not limited to, compensation for his mental anguish, humiliation, embarrassment, stress and

anxiety, emotional pain and suffering, and emotional distress;

       C.      An award of liquidated damages;

       D.      An award of punitive damages;

       E.      An award of costs that plaintiff has incurred in this action, as well as plaintiff’s

reasonable attorneys’ fees to the fullest extent permitted by law; and

       F.      Such other and further relief as the Court may deem just and proper.


Dated: Hauppauge, New York
       April 12, 2021

                                                      Attorneys for Plaintiff

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